                            NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                            AUG 27 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                        No. 23-1625
                                                 D.C. No. 3:22-cr-01987-AJB-1
             Plaintiff - Appellee,

 v.
                                                 MEMORANDUM*
GUILLERMO HOLGUIN,

             Defendant - Appellant.

                   Appeal from the United States District Court
                      for the Southern District of California
                   Anthony J. Battaglia, District Judge, Presiding

                            Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Guillermo Holguin appeals from the district court’s judgment and challenges

the 180-month sentence imposed following his guilty-plea conviction for

possession of fentanyl with intent to distribute, in violation of 21 U.S.C.

§ 841(a)(1). We have jurisdiction under 28 U.S.C. § 1291, and we affirm.


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      Holguin contends that his sentence is substantively unreasonable because the

district court gave excessive weight to the Guidelines range and insufficient

consideration to the mitigating factors, including his acceptance of responsibility,

his personal and family circumstances, and the fact that his Guidelines range was

enhanced as a result of his voluntary admission that he possessed more

methamphetamine than was seized by authorities. The district court did not abuse

its discretion. See Gall v. United States, 552 U.S. 38, 51 (2007). The below-

Guidelines sentence is substantively reasonable in light of the 18 U.S.C. § 3553(a)

factors and the totality of the circumstances, including the serious nature and

circumstances of the offense and the need to protect the public. See Gall, 553 U.S.

at 51; see also United States v. Gutierrez-Sanchez, 587 F.3d 904, 908 (9th Cir.

2009) (“The weight to be given the various factors in a particular case is for the

discretion of the district court.”). Moreover, contrary to Holguin’s contention, the

record reflects that the district court thoroughly considered his mitigating

arguments and the § 3553(a) factors. See United States v. Carty, 520 F.3d 984,

992 (9th Cir. 2008) (en banc).

      AFFIRMED.




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